                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI

CHALLES LOFTON,                                 )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )   Case No. 3:20-cv-05107-MDH
                                                )
HOTS, INC., et al.,                             )
                                                )
                      Defendants.               )

                                            ORDER

        Before the Court are Plaintiff’s Objections to Defendant’s First Interrogatories and

Plaintiff’s Objections to Defendant’s First Requests for Production. The Court’s rulings are as

follows:

     1. Plaintiff’s objection to Defendant’s Interrogatory No. 2 is OVERRULED.

     2. Plaintiff’s objection to Defendant’s Request for Production No. 1 is OVERRULED.

     3. Plaintiff’s objection to Defendant’s Request for Production No. 2 is SUSTAINED.

     4. Plaintiff’s objection to Defendant’s Request for Production No. 6 is OVERRULED.

        However, if Plaintiff believes any communications are privileged, irrelevant, or otherwise

        not subject to discovery, Plaintiff may provide those communications to the Court for the

        Court’s ruling prior to production to Defendant.

     5. Plaintiff’s objection to Defendant’s Request for Production No. 7 is SUSTAINED IN

        PART AND DENIED IN PART. Plaintiff is ordered to produce only the portions of her

        tax returns that show cash receipts for the years 2016, 2017, 2018, and 2019.

     6. Plaintiff’s objection to Defendant’s Request for Production No. 9 is SUSTAINED.




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    7. Plaintiff’s objection to Defendant’s Request for Production is OVERRULED. However,

       Plaintiff is ordered to produce Form W-2s and Form 1099s she received issued by

       Defendant for the years 2016, 2017, 2018, and 2019 only.

    8. Plaintiff’s objection to Defendant’s Request for Production No. 12 is OVERRULED.

    9. Plaintiff’s objection to Defendant’s Request for Production No. 14 is OVERRULED.

    10. Plaintiff’s objection to Defendant’s Request for Production No. 15 is SUSTAINED.

       The parties may move to contest the Courts rulings at any time before the close of

discovery. Responses to any motion are due within one week of the motion being filed.



IT IS SO ORDERED.

Dated: June 1, 2021                                        /s/ Douglas Harpool______
                                                          DOUGLAS HARPOOL
                                                          United States District Judge




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